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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO: 22-14102-CV-MIDDLEBROOKS

   DONALDJ. TRUMP,

          Plaintiff,

   V.


   HILLARY R. CLINTON, et al.,

          Defendants.
   - - - - -- - -- - - - - - - - - -I
                                              ORDER

          On June 21, 2022, Plaintiff Donald J. Trump filed an Amended Complaint. (DE 117). In

   light of the Amended Complaint, Defendants' currently pending Motions to Dismiss, listed below,

   are DENIED AS MOOT:

          •   Defendant Hillary Rodham Clinton' s Motion to Dismiss (DE 52);

          •   Defendant John Podesta' s Motion to Dismiss (DE 124);

          •   Defendants Fusion GPS, Glenn Simpson, and Peter Fritsch' s Motion to Dismiss (DE

              139);

          •   Defendants Democratic National Committee, DNC Services Corporation, and Debbie

              Wasserman Schultz' s Motion to Dismiss (DE 141);

          •   Defendant Perkins Coie LLP ' s Motion to Dismiss (DE 143);

          •   Defendant Nellie Ohr' s Motion to Dismiss (DE 144);

          •   Defendant Robert E. Mook' s Motion to Dismiss (DE 145);

          •   Defendant Michael Sussmann' s Motion to Dismiss (DE 146);

          •   Defendant Marc Elias ' s Motion to Dismiss (DE 147);


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         •   Defendant HFACC, Inc. ' s Motion to Dismiss (DE 149);

         •   Defendant Rodney Joffe' s Motion to Dismiss (DE 157);

         •   Defendant Igor Danchenko ' s Motion to Dismiss (DE 159);

         •   DefendantNeustar, Inc.' s Motion to Dismiss (DE 160);

         •   Defendant Charles Halliday Dolan Jr. ' s Motion to Dismiss (DE 162);

         •   Defendant Charles Halliday Dolan Jr. ' s Motion to Dismiss (DE 163); and

         •   Defendant Jake Sullivan' s Motion to Dismiss (DE 165).

         SIGNED in Chambers in West Palm Beach, Florida on this




                                                            United States District Judge

   cc:   Counsel of Record




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